Case 1:19-cv-02323-DLF Document 14 Filed 11/15/19 Page 1 of 4

AO 440b (Rev. 12/09; DC 03/10) Summons in a Civil Action
UNITED STATES DISTRICT COURT
for the

District of Columbia

 

KEVIN AJENIFUJA

Plaintiff

Vv. Civil Action No. 19-cv-02323-DLF

ALIKO DANGOTE et al.
WITHOUT PREPAYMENT OF COSTS

 

ee ee

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) The World Bank Group
General Counsel
1818 H Street NW
Washington DC 20433
+ 1.202.473.1000
sandie.okoro@,worldbank.org

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kevin Ajenifuja

5226 Klingle Street NW Washington
DC 20016

202 -596-9701
kajenifuja@,yahoo.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D, CAESAR, CLERK OF COURT

/s/ Anson Hopkins
Signature of Clerk or Deputy Clerk

Date: 11/15/2019

 

 
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AO 440b (Rev. 12/09; DC 03/10) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

KEVIN AJENIFUJA ZO UBS
Plaintiff
v. ) Civil Action No. 19-cv-02323-DLF
ALIKO DANGOTE et al. )
) WITHOUT PREPAYMENT OF COSTS
: Defendant : )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Oscar Onyema
401 East 34th Street, Apt. South 34C
New York NY 10016
1.917.334.6354
oonyema@, nigerianstockexchange.com

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Kevin Ajenifuja

5226 Klingle Street NW Washington
DC 20016

202 -596-9701
kajenifuja@,yahoo.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D, CAESAR, CLERK OF COURT

Date: _ 41/15/2019 /s/ Anson Hopkins

 

 

Signature of Clerk or Deputy C lerk

 
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AO 440b (Rev. 12/09; DC 03/10) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

District of Columbia

 

KEVIN AJENIFUJA

Plaintiff

v. Civil Action No. 19-cv-02323-DLF

ALIKO DANGOTE et al.
WITHOUT PREPAYMENT OF COSTS

Defendant

 

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Aliko Dangote
1 Alfred Rewane Road, PMB 40032
Falomo Ikoyi
Lagos, Nigeria
+234.1.448.0815
aliko.dangote@,dangote.com

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Kevin Ajenifuja

5226 Klingle Street NW Washington
DC 20016

202 -596-9701

kajenifuja@, yahoo.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

/s/ Anson Hopkins
Signature of Clerk or Deputy Clerk

Date: 11/15/2019

 

 
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AO 440b (Rev. 12/09; DC 03/10) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Columbia
KEVIN AJENIFUJA

Plaintiff

Vv. Civil Action No. 19-cv-02323-DLF

ALIKO DANGOTE et al.
WITHOUT PREPAYMENT OF COSTS

Nee Nee ee ee ee ee Se”

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) The Nigerian Stock Exchange Council Secretary
2 - 4 Custom Street
Lagos Island Lagos, Nigeria
+234.700.225.5673
tawe@,nse.com.ng

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kevin Ajenifuja

5226 Klingle Street NW Washington
DC 20016

202 -596-9701
kajenifuja@,yahoo.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date: 11/15/2019 — /s/ Anson Hopkins

 

 

 

Signature of Clerk or Deputy Clerk

 
